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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                         CIVIL ACTION NO. 18-cv-10646



 HOPE COLEMAN, individually and as the legal
 representative of the ESTATE OF TERRENCE J.
 COLEMAN

        Plaintiff,

 v.

 CITY OF BOSTON, BOSTON PUBLIC HEALTH
 COMMISSION, WILLIAM EVANS, SOPHIA DYER,
 M.D., GARRETT BOYLE, and KEVIN FINN

        Defendants.


STATEMENT OF THE PARTIES REGARDING THE STATUS AND PROSPECTS FOR
                          SETTLEMENT

       Pursuant to this Court’s Order dated January 22, 2019, the Parties hereby report to the

Court that they have conferred regarding the possibility of settlement.

       The Defendants submit that settlement is not possible at this time because they disagree

with the Plaintiff regarding the fundamental facts at issue in this case. These facts will likely

need to be resolved by a jury.




                                 [signatures on following pages]
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Respectfully submitted:

PLAINTIFF, HOPE COLEMAN

By her attorneys:


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Respectfully submitted:

DEFENDANTS, CITY OF BOSTON,
WILLIAM EVANS, GARRETT BOYLE, AND
KEVIN FINN

By their attorneys:


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                               CERTIFICATE OF SERVICE

        I hereby certify that on June 14, 2019, I served a true copy of the above document upon
all counsel of record via this court’s electronic filing system and upon those non-registered
participants via first class mail.


/s/ Nicole M. O’Connor
Nicole M. O’Connor




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